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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 WAYCROSS DIVISION

BRANTLEY COUNTY DEVELOPMENT )
PARTNERS, LLC,                        )
                                      )
        Plaintiff,                    )
                                      )
v.                                    )
                                      )               CIVIL ACTION
BRANTLEY COUNTY, GEORGIA by           )               FILE NO. 5:19-CV-00109-LGW-BWC
and through its Chairman and Members  )
of the Brantley County Board of       )
Commissioners; CHRIS “SKIPPER”        )
HARRIS, RANDY DAVIDSON, BRIAN )
HENDRIX, JESSE MOBLEY AND RAY )
GRIFFIN, all in their individual and  )
official capacities as Commissioners, )
                                      )
        Defendants.                   )

                   DEFENDANTS’ MOTION FOR RECONSIDERATION

       COME NOW Defendants Brantley County, Georgia, by and through Chris Harris, Randy

Davidson, Brian Hendrix, Jesse Mobley and Ray Griffin (“Defendants” or “County”), by and

through the undersigned counsel, and file this Motion for Reconsideration pursuant to Fed. R. Civ.

P. 59(e) and 54(b). Defendants hereby move the Court to reconsider its Order partially denying

Defendants’ Renewed Motion to Dismiss (Doc. 135) (“Order”) on the grounds of the need to

correct clear error or prevent manifest injustice.

       A motion for reconsideration “must demonstrate why the court should reconsider its

decision and set forth facts or law of a strongly convincing nature to induce the court to reverse its

prior decision.” McGuire v. Ryland Group, Inc., 497 F. Supp. 2d 1356, 1358 (M.D. Fla. 2007)

(quoting SEC v. Seahawk Deep Ocean Tech., Inc., 74 F. Supp. 2d 1188, 1192 (M.D. Fla. 1999)

(internal citations and quotations omitted). Whether this motion is properly made pursuant to
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Federal Rule 54(b) or 59(e), the motion may be granted for the same reason: “the need to correct

clear error or prevent manifest injustice.” Raiford v. Nat’l Hills Exchange, LLC, 2016 U.S. Dist.

LEXIS 64888, *4 (S.D. Ga. May 17, 2016) (Rule 54(b)); Gold Cross EMS, Inc. v. Children’s

Hosp. of Ala., 108 F. Supp. 3d 1376, 1379 (S.D. Ga. 2015) (Rule 59(e)). This generally requires

a showing of “‘clear and obvious error’ where the ‘interests of justice’ demand correction.”

McGuire, 497 F. Supp. 2d at 1358 (quoting Prudential Sec., Inc. v. Emerson, 919 F. Supp. 415,

417 (M.D. Fla. 1996)). Thus, “[i]n considering a motion for reconsideration, a court must balance

the need for finality and judicial economy against the need to render just decisions.” Raiford, 2016

U.S. Dist. LEXIS at *4 (quoting Collins v. Int’ Longshoremen’s Ass’n Local 1423, No 2:09-cv-

093, 2013 U.S. Dist. LEXIS 13566, at *1 (S.D. Ga. Jan. 30, 2013)).

       Defendants highlight the following errors set out in the Order: (1) Plaintiff lacks standing

and its claims are not ripe; (2) Defendants are entitled to official immunity, as the claims are against

the County itself; and (3) the void for vagueness claim is a facial challenge which is moot.

       Defendants acknowledge that a motion for reconsideration “should not be used to present

arguments already heard and dismissed, or to offer new legal theories or evidence that a party

could have presented before the original decision.” Id. at * 4-*5 (quoting S.E.C. v. Mannion, 2013

U.S. Dist. LEXIS 160886, at *2 (N.D. Ga. Nov. 12, 2013)). Here, Defendants respond directly to

the conclusions of law and fact in the Order.

       Defendants also note that courts in this District have granted motions for reconsideration

on the basis of legal and factual error and review of additional case law. See, e.g., Raiford, 2016

U.S. Dist. LEXIS at *30-*31 (granting motion for reconsideration due to legal errors in the

previous order); McDonald Georgia Commerce Ctr. 400, LLC v. F & C Logistics, Inc., 2013 U.S.

Dist. LEXIS 22917, *6-*7 (S.D. Ga. Feb. 19, 2013) (same); Whitesell Corp. v. Electrolux Home



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Prods., 2013 U.S. Dist. LEXIS 207389, *24-*25 (S.D. Ga. 2013) (“[T]he present motion for

reconsideration has caused the Court to reexamine the evidence underpinning its prior rulings” and

the court’s prior determination was “clear error.”); Schreckengast v. Carollo, 2017 U.S. Dist.

LEXIS 96649, *7-*8 (S.D. Ga. June 22, 2017) (granting motion for reconsideration due to review

of additional, not new, case law). The errors described below must be corrected to prevent

manifest injustice.

    I.      Standing and Ripeness

         In the Order, the Court found that two injuries satisfy the injury-in-fact requirement for

standing: the 2017 zoning change decision and Development Partners’ expenditure of money.

(Doc. 135, pp.13-15). These actions do not support a finding that Development Partners has

standing due to the lack of injury, redressability, and ripeness.

         First, the Court found that the zoning change decision in June 2017 was an injury. In

explaining why the Court found the 2017 zoning change an injury-in-fact for standing, the Order

states: “The 2017 rezoning decision forbids Plaintiff from using its Property in a particular

manner—namely, as a solid waste handling facility.” (Doc. 135, p.13).

         Development Partners faces no imminent threat of the zoning decision being applied to its

property, because Development Partners has not alleged that the EPD has approved its D&O plan

or otherwise asked for a reaffirmation letter. In fact, the EPD has not requested a reaffirmation

letter and will not request or require any reaffirmation letter unless the D&O plan is approved.

(Doc. 84, pp.11-12, EPD dep., pp. 20:24-21:17).1 Unless and until such approval occurs, the



1
 This is a factual challenge to subject matter jurisdiction, so “the district court may consider
extrinsic evidence.” Carmichael v. Kellogg, Brown & Root Servs., 572 F.3d 1271, 1279 (11th
Cir. 2009). Further, “no presumptive truthfulness attaches to plaintiff’s allegations, and the
existence of disputed material facts will not preclude the trial court from evaluating for itself the
merits of jurisdictional claims.” Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir. 1990)
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zoning change cannot injure Development Partners, because it is forbidden by state law from using

its property as a solid waste handling facility without EPD approval. O.C.G.A. § 12-8-24.

       Second, the Order found that Development Partners suffered an injury because it spent

money on plans and site studies for the Proposed Facility and that “business commitment

opportunities have been lost” due to Defendants’ actions. (Doc. 135, p.14) (citing Doc. 1, ¶ 124).

To start, Plaintiff does not allege that it has lost business opportunities in the cited paragraph or

anywhere else in the Amended Complaint2, so this is a factual error. (Doc. 1; Doc. 45).

       This situation is also distinguishable from the case cited in the Order, Village of Arlington

Heights v. Metropolitan Housing Development Corp., 429 U.S. 252 (1977). The Supreme Court

opinion in Arlington Heights states: “When a project is as detailed and specific as [that

development], a court is not required to engage in undue speculations as a predicate for find that

the plaintiff has the requisite personal stake in the controversy.” Id. at 261.    The “detail” and

“specificity” are predicates to the court’s finding of a “personal stake” in the controversy. The

developers in Arlington Heights provided to the local government specific plans for building

height, number of units and number of bedrooms, exterior doors in all units, plans for trees, studies

regarding the need for and impact of the development, and they met with local officials to ensure

compliance with building code and fire regulations. Id. at 257. Here, Development Partners’ EPD




(quoting Williamson v. Tucker, 645 F.2d 404, 412-413 (5th Cir. 1981), cert. denied, 454 U.S.
897, 102 S. Ct. 396, 70 L. Ed. 2d 212 (1981)).
2
  Development Partners made this argument in its Motion for Preliminary Injunction, not in the
Amended Complaint. (See Doc. 58). Development Partners’ only allegation in the Amended
Complaint which relates to interference with business is the allegation that the 2017 SWMP
provisions concerning the interstate flow of waste will impair Development Partners’ business
and ability to contract with market participants located outside the County. (Doc. 45, ¶ 164). The
Court has previously found that Plaintiff “cannot suffer any actual or threatened injury” from the
2017 or 2020 SWMP because neither is being enforced against Plaintiff’s property. (Doc. 114,
p.45).
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application does not even identify the type of landfill for which it wants a permit and states only

that the proposed landfill of an unknown size and type will sit somewhere on the southern tract of

its property. (Doc. 1-11, pp.3,12). Plaintiff’s EPD application does not have the requisite

specificity and detail which permitted a finding of standing in Arlington Heights. All developers

expend money before developing their property, but not all developers suffer a cognizable injury

from zoning laws, especially when those zoning laws have never been applied to the developer.

       In addition, both alleged injuries of the zoning change and money spent raise problems

with ripeness and redressability. Development Partners alleges that Defendants’ failure to provide

letters reaffirming consistency with the County’s zoning ordinance and solid waste management

plan has interfered with its vested right to develop a solid waste handling facility. (Doc.1, ¶ 59).

The Order finds that Development Partners has standing because the “2017 rezoning decision

forbids Plaintiff from using its Property in a particular manner – namely, as a solid waste handling

facility” (Doc. 135, p.13) and the vested rights claim is ripe because Defendants have not issued

the reaffirmation letters. (Doc. 135, p.18). Yet, the rezoning has not been applied and cannot be

applied to Plaintiff’s property to prevent Plaintiff from building a solid waste handling facility,

because Plaintiff cannot build a landfill without the EPD approving its D&O plan.

       The instant lawsuit involves additional requirements, over which Defendants have no

control, which Plaintiff must meet before the EPD will ever ask for reaffirmation letters and before

Plaintiff could ever use its property as a solid waste handling facility. Because of the extra steps

implicating ripeness and redressability, this case is not governed by the ruling in Arlington Heights.

In Arlington Heights, the court found standing for a developer whose only obstacle was the local

government’s zoning decision. Village of Arlington Heights, 429 U.S. at 257, 261. Here, though,

Development Partners is required to go through additional steps and get additional approvals from



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the EPD after it submits its permit application and before the EPD will ever ask for or require a

reaffirmation letter.

        After submitting its application, the EPD was required to make a determination of site

suitability (which occurred 3.5 years after Plaintiff submitted the application), and Development

Partners was required to submit a design and operations (D&O) plan for the EPD’s approval. (Doc.

48-2, p.2); (Doc. 52, p.7) (citing to Doc. 48-2). Development Partners has not alleged that the

EPD has approved a D&O Plan. The EPD has also not guaranteed, nor has Plaintiff so alleged,

that the EPD will approve Plaintiff’s D&O plan or that a permit will issue. (Doc. 84, p.18, EPD

dep., p.49:17-24). The EPD has not requested additional consistency letters and will not request

or require additional consistency letters unless and until after the D&O plan is approved. (Doc. 84,

pp.11-12, EPD dep., pp. 20:24-21:17).

        Development Partners’ claims are not ripe because Plaintiff has not reached the point, and

may never reach the point, when Defendants could interfere with its claimed right to build a

landfill. At this point, the EPD is the only entity preventing Plaintiff from building a landfill

because it has not approved its D&O plan or decided to issue Plaintiff a permit. Development

Partners has not alleged that the EPD has granted or denied the permit, nor has it alleged that the

EPD has indicated that it will grant or deny the permit.

        In the same vein, Defendants’ issuance of reaffirmation letters cannot redress Development

Partners’ grievance of not being able to build a solid waste handling facility on the Property. (See

Doc. 135, p.13). Development Partners makes no allegation that receipt of such letters will

influence the EPD’s decision on the as-yet unapproved D&O plan, the approval of which is a

prerequisite for the permit. Simply put, the reaffirmation letter will not get Development Partners

any closer to being able to build a solid waste handling facility.



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   II.      Official Immunity

         The Order states that Defendants are entitled to sovereign immunity for official capacity

claims and official immunity for individual capacity claims for retrospective relief. (Doc. 135,

pp.34,37). The Court declined to apply official immunity to prospective claims against Defendants

in their individual capacity because it found that the real party in interest limitation did not apply.

(Doc. 135, p.37).

         It is true that the Georgia Supreme Court applied a narrower version of the “real party in

interest rule” in Board of Commissioners of Lowndes County v. Mayor & Council of Valdosta, 848

S.E.2d 857, 861-862 (Ga. 2020). The court stated that it has applied this rule “primarily” with

respect to State real property rights and contractual obligations. Id. at 861.

         A similar application of the Lowndes County holding in the instant case presents two

related problems: the basis for permitting certain individual capacity claims described in the

opinion does not apply here and the relief requested here is only to direct the actions of the

County’s governing body. The officials in Lowndes County were also not entitled to official

immunity as Defendants are here. See Bd. of Comm’rs of Lowndes Cnty., supra.

         The Georgia Supreme Court’s acknowledgement that sovereign immunity does not bar

individual capacity suits for declaratory and injunctive relief is also based on a premise which does

not apply here:

                  “As Presiding Justice Benham explained in his partial dissent from
                  our opinion in IBM,
                  ‘[i]t is a long-standing principle of Georgia law that sovereign
                  immunity is not applicable where an injunction is sought to prevent
                  the commission of an alleged wrongful act by an officer of the state
                  acting under color of office but without lawful authority and beyond
                  the scope of official power because such a suit is not against the
                  state, but against an individual stripped of his official character.’”

         Id. at 860 (quoting IBM v. Ga. Dep’t of Admin. Servs., 453 S.E.2d 706, 711 (Ga. 1995)

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((Benham, P. J., concurring in part and dissenting in part) (emphasis omitted)). The Georgia

Supreme Court emphasized that “Presiding Justice Benham was right; that principle is

longstanding in our law and is a part of the sovereign immunity that the Georgia Constitution now

preserves.” Id. The reasoning for the individual capacity sovereign immunity rule does not apply

here. Contrary to the reasoning in Lowndes County, this is not a suit “against an individual stripped

of his official character.” Here, the injunction can only be entered because of and enforced against

County Commissioners’ official actions in governing the County.

          It is completely illogical for the real party in interest rule to not apply here. Development

Partners does not seek to direct the actions of any specific County Commissioner; it seeks action

by the Board of Commissioners as the County’s governing body. The Court determined that

sovereign immunity applies to protect the County from suit. Any relief in this case must be limited

to Defendants’ legislative and executive actions as the County’s governing body because

Plaintiff’s demands only affect the actions of the County as governed by its Board of

Commissioners.

   III.      Void for Vagueness Challenge Is Moot

          In the Order, the Court found that the “failure to provide an official map for the 2016

Zoning Ordinance does constitute a valid void for vagueness claim” and that this claim was “not

mooted” by the adoption of the 2017 Zoning Ordinance. (Doc. 135, pp.56,58). The void for

vagueness claim was mooted by the 2017 Zoning Ordinance, though, because Development

Partners asserted, and the Court ruled on, a facial void for vagueness challenge.

          There are two types of challenges under the void-for-vagueness doctrine: facial and as-

applied. A facial challenge “seeks to invalidate a statute or regulation itself.” Indigo Room, Inc. v.

City of Fort Myers, 710 F.3d 1294, 1302 (11th Cir. 2013) (quoting Horton v. City of St. Augustine,



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272 F.3d 1318, 1329 (11th Cir. 2001)). An as-applied challenge “addresses whether a statute is

unconstitutional on the facts of a particular case or to a particular party.” Harris v. Mexican

Specialty Foods, Inc., 564 F.3d 1301, 1308 (11th Cir. 2009).

       Facial vagueness occurs when there is “no set of circumstances exists under which the

[law] would be valid.” Indigo Room, Inc., 710 F.3d at 1302 (quoting Horton, 272 F.3d at 1329).

“[F]acial vagueness occurs when a statute is utterly devoid of a standard of conduct so that it

simply has no core and cannot be validly applied to any conduct.” Id. (citations omitted). But if

the challenged law can be constitutionally applied in some circumstances, then “the possibility of

a valid application necessarily precludes facial invalidity.” Id. (citations omitted).

       Development Partners asserted a facial void-for-vagueness challenge, and the Order

evaluates the claim as a facial challenge. Development Partners asserts that the 2016 Zoning

Ordinance is unconstitutionally vague due to the failure to follow the Zoning Procedures Act in its

adoption and the failure to adopt a zoning map. (Doc. 1, ¶¶ 21,75,78).3 Development Partners

does not assert that it was harmed by the 2016 Zoning Ordinance. It only asserts that Defendants’

acts of “rezoning the Property” and “amend[ing] and re-adopt[ing] the Zoning Ordinance” are

unconstitutional as applied to Plaintiff. (Doc. 1, ¶ 82). Plaintiff asserts that “[b]ecause the county

zoning ordinance … described above fail to provide Plaintiff or other landowners fair notice, [it

is] void for vagueness and unconstitutional” (Doc. 1, ¶ 78) (emphasis added). Plaintiff makes its

facial challenge plain by asserting the absence of a map in the 2016 Zoning Ordinance “render[s]

the zoning ordinance void and of no effect.” (Doc. 1, ¶ 81). Thus, Development Partners seeks to

invalidate the 2016 Zoning Ordinance from applying to any landowner, which is a facial challenge.



3
 Plaintiff also alleges that the 2017 Zoning Ordinance and other “regulations” are void for
vagueness. Because the Order states only that the 2016 Zoning Ordinance is void for vagueness
due to the absence of a zoning map, the other allegations are not discussed here.
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       The Court’s Order similarly describes the 2016 Zoning Ordinance as facially vague. To

start, the Order states that Plaintiff alleged an injury from the zoning change in the adoption of the

2017 Zoning Ordinance, not that Development Partners asserted an injury due to the existence of

the 2016 Zoning Ordinance. (Doc. 135, pp.15,18) (“Plaintiff does not complain about the mere

existence of a zoning classification.”).

       The Order also clearly finds the 2016 Ordinance void in all applications. It includes

discussion of unconstitutional application to landowners generally. (Doc. 135, p.54). The Order

cites to Georgia case law that states maps are “an essential part of the zoning ordinance” and

without one a zoning ordinance is “void at the moment of its enactment.” (Doc. 135, p. 54) (quoting

Newton Cty. v. E. Ga. Land & Dev. Co., LLC, 764 S.E.2d 830, 832 (Ga. 2014)). This case law

states that a zoning ordinance which lacks a map is void for vagueness on its face, because it is

“void” before it can be applied to anyone.

       Because the void for vagueness challenge was a facial challenge and not an as-applied

challenge, the adoption of the 2017 Zoning Ordinance makes this claim moot. “As the Eleventh

Circuit has held, ‘a challenge becomes moot when the challenged policy was repealed by the

governmental authority and there was no reasonable expectation that the governmental authority

would return to the prior policy.’” Stardust, 3007 LLC v. City of Brookhaven, 2016 U.S. Dist.

LEXIS 196088, *55-*56 (N.D. Ga. Sept. 29, 2016) (quoting Granite State Outdoor Adver. Inc. v.

City of St. Pete Beach, 322 F. Supp. 2d 1335, 1341 (M.D. Fla. 2004)). See also Reyes v. City of

Lynchburg, 300 F.3d 449, 453 (4th Cir. 2002) (facial challenge to a repealed ordinance was moot);

Lockridge v. City of Oldsmar, 475 F. Supp. 2d 1240 (M.D. Fla. 2007) (the repeal of the ordinance

mooted the claim for injunctive relief); McLean v. City of Alexandria, 106 F. Supp. 3d 736, 738

(E.D. Va. 2015) (“McLean’s facial challenge to the now-repealed Ordinance and request for



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injunctive relief are, however, moot.”) (citations omitted). There is no evidence, nor is it

reasonable, that the County will return to a zoning ordinance without a zoning map.

         Further, the Court dismissed all claims against Defendants for monetary relief. (Doc. 135,

pp.31,34,37) (dismissing official capacity claims and claims for monetary relief against

Defendants and upholding individual capacity claims for prospective injunctive and declaratory

relief). Thus, Development Partners has not asserted an injury due to the 2016 Zoning Ordinance

and cannot assert claim for damages. There is no case or controversy with respect to the 2016

Zoning Ordinance, so the void for vagueness claim should be dismissed.

   IV.      Conclusion

         Defendants respectfully ask this Court to reconsider its partial denial of Defendants’

Renewed Motion to Dismiss on the grounds that Development Partners lacks standing to bring this

suit, its claims are not ripe, Defendants are entitled official immunity for all claims, and the void

for vagueness challenge is moot.

         Respectfully submitted this 30th day of September, 2021.

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                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically submitted the foregoing

DEFENDANTS’ MOTION FOR RECONSIDERATION to the Clerk of Court using the

CM/ECF e-filing system which will automatically send electronic mail notification of such filing

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       This 30th day of September, 2021.

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